          Case 2:20-cv-02178-JAD-NJK Document 82 Filed 11/22/21 Page 1 of 3




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 7
                             UNITED STATES DISTRICT COURT
 8
                                     DISTRICT OF NEVADA
 9

10
     MY DAILY CHOICE, INC.,
11
                Plaintiff/                    Case No. 2:20-cv-02178-JAD-NJK
12              Counterclaim-Defendant,

13        v.
                                              STIPULATION & ORDER TO
14 WILLIAM T. BUTLER,                       EXTEND COUNTERCLAIMAINTS’
   KRISTEN BUTLER, and ARIEYL, LLC,           DEADLINE TO RESPOND TO
15                                               MOTION TO DISMISS
              Defendants/
16            Counterclaim-Plaintiffs/                (First Request)
              Third Party Plaintiffs,
17
         v.                                        ECF Nos. 80, 81
18
   JOSH ZWAGIL, JENNA ZWAGIL, and
19 KARLI THOMAS,

20              Third Party Defendants.
21
     MY DAILY CHOICE, INC.,
22
                Plaintiff,                    Case No. 2:20-cv-02225-JAD-NJK
23
          v.
24
     MARISSA BROOKE DONNELL,
25
                Defendant.
26

27

28                                        -1-
          STIPULATION TO EXTEND DEADLINE TO RESPOND TO MOTION TO DISMISS
                                2:20-cv-02178-JAD-NJK
           Case 2:20-cv-02178-JAD-NJK Document 82 Filed 11/22/21 Page 2 of 3




 1 MY DAILY CHOICE, INC.,

 2                  Plaintiff,                               Case No. 2:20-cv-02228-JAD-NJK
 3          v.
 4 SKYLAR LAMBERT,

 5                  Defendant.
 6
     MY DAILY CHOICE, INC.,
 7
                   Plaintiff,                                Case No. 2:20-cv-02232-JAD-NJK
 8
            v.
 9
     DANIELLE LITUSKI, and CHAD LITUSKI,
10
                   Defendants.
11

12          Defendants/Counterclaimants William T. Butler, Kristen Butler, and Arieyl, LLC

13 (“Counterclaimants”) and Plaintiff/Counterclaim Defendant My Daily Choice, Inc.

14 (“Counterclaim Defendant”) (collectively, the “Parties”), through counsel, hereby stipulate and

15 request that the Court extend the date by which Counterclaimants may respond to Counterclaim

16 Defendant’s Motion to Dismiss from November 26, 2021 until December 10, 2021.

17          In support of this Stipulation, the Parties state as follows:

18          1.     On October 7, 2021, Counterclaimants filed their Counterclaims against

19 Counterclaim Defendant.

20          2.     On October 14, 2021, counsel for the Parties agreed to extend the date by which

21 Counterclaim Defendant must respond to the Counterclaims by two weeks, from October 28,

22 2021 to November 11, 2021.

23          3.     On November 11, 2021, Counterclaim Defendant filed its Motion to Dismiss with

24 this Court.

25          4.     On November 18, 2021, counsel for the Parties agreed to extend the date by which

26 Counterclaimants must respond to Counterclaim Defendant’s Motion to Dismiss by two weeks,

27 from November 26, 2021 to December 10, 2021.

28                                         -2-
           STIPULATION TO EXTEND DEADLINE TO RESPOND TO MOTION TO DISMISS
                                 2:20-cv-02178-JAD-NJK
          Case 2:20-cv-02178-JAD-NJK Document 82 Filed 11/22/21 Page 3 of 3




 1         5.     Good cause exists to extend time by which Defendants are required to respond to

 2   Counterclaim Defendant’s Motion to Dismiss due to counsel’s schedule during the

 3   Thanksgiving holiday and the need for additional time to review, research, evaluate, and

 4   respond to MDC’s arguments in the Motion. Counterclaimants have previously accommodated

 5   Counterclaim Defendant’s request for additional time to respond to the Counterclaim.

 6         6.     Accordingly, the Parties hereto stipulate that the date by which Counterclaimants

 7   shall file their response to Counter Defendant’s Motion to Dismiss is extended by 14 days from

 8   November 26, 2021 to December 10, 2021.

 9         IT IS SO STIPULATED.

10         Respectfully Submitted,

11 Dated this 19th day of November 2021.            Dated this 19th day of November, 2021

12 GARMAN TURNER GORDON LLP                         RANDAZZA LEGAL GROUP, PLLC

13     By: /s/ Ross M. Campbell                      By: /s/ Ronald Green
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22     Defendant, My Daily Choice, Inc.
23

24                                            IT IS SO ORDERED.

25
                                              ______________________________________
26                                            UNITED STATES DISTRICT JUDGE
                                              NOVEMBER 22, 2021
27

28                                        -3-
          STIPULATION TO EXTEND DEADLINE TO RESPOND TO MOTION TO DISMISS
                                2:20-cv-02178-JAD-NJK
